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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS                                    MAR 2 3 2015
                                   SAN ANTONIO DIVISION
                                                                                      WEDITAS
                                                                                      CLERK, U.S. DISTRIJ,
                                                                                                           COURt




  JTJAN ALONZO-MIRANDA,

                                    Plaintiff,

 V.                                                           Civil No. 5:13-1057 (RCL)

 SCHLUMBERGER TECHNOLOGY
 CORPORATION,

                                    Defendant.


                                               VERDICT FORM

 Question No.    1


 Did Defendant Schlumberger fail to reasonably accommodate Plaintiff Juan Alonzo-Miranda's
 disability?

 Answer: Yes         '../   orNo

If you answered "Yes" to Question No.     1,   then answer the following questions:


Question No. 2

What sum of money, if paid now in cash, would fairly and reasonably compensate Plaintiff Juan
Alonzo-Miranda for the damages, if any, you have found Defendant Schiumberger caused him?

Answer in dollars and cents:

a. Overtime wages lost due to the failure to reasonably accommodate.

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b. Past pain and suffering, inconvenience, mental anguish, and loss of enjoyment of life.

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Question No. 3

Do you find that Plaintiff Juan Alonzo-Miranda should be awarded punitive damages?

Answer: Yes               or No


If you answered "Yes" to Question No. 3, then answer the following question:


Question No. 4

What sum of money should be assessed against Defendant Schiumberger as punitive damages?

Answer in dollars and cents:

       $_____________________________________________________________




Date
       3-23-2o
                                                        Jury   Fors"
